             Case 2:15-cv-02597-DLR Document 50 Filed 07/08/16 Page 1 of 14




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15
                               UNITED STATES DISTRICT COURT
16
17                                 DISTRICT OF ARIZONA

18
19   BENJAMIN McCLURE, an individual,
                                                  NO. CV-15-2597-PHX-DLR
20          Plaintiff,
21
     vs.                                          FIRST AMENDED COMPLAINT
22                                                FOR DAMAGES
23
     COUNTRY LIFE INSURANCE COMPANY,
     dba COUNTRY FINANCIAL, previously doing        Breach of Contract; Insurance
24   business as COUNTRY COMPANIES; CC                        Bad Faith
     SERVICES, INC. dba COUNTRY
25
     FINANCIAL; DOES 1-10; ROES 1-10.                    JURY TRIAL DEMAND
26
            Defendants.
27
28




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            Case 2:15-cv-02597-DLR Document 50 Filed 07/08/16 Page 2 of 14




 1        Plaintiff Benjamin McClure alleges as follows:
 2                            PARTIES, JURISDICTION AND VENUE
 3        1.     Plaintiff Benjamin McClure (hereinafter “McClure” or “Plaintiff”) is a
 4
     resident of Maricopa County, residing in Peoria, Arizona. McClure was an Arizona
 5
     resident at all relevant times herein.
 6
 7        2.     Defendant Country Life Insurance Company dba Country Financial, at
 8
     the time of the issuance of the subject policy, was doing business as Country
 9
     Companies, (“COUNTRY”). COUNTRY is an insurance company with its principal
10
11   place of business in Bloomington, Illinois.
12        3.     At all times relevant Defendant COUNTRY was duly licensed to sell
13
     individual disability insurance in the State of Arizona and engaged in the business of
14
15   issuing policies of insurance to Arizona residents. Defendant COUNTRY caused acts

16   to occur in Arizona out of which this Complaint arises and is therefore subject to
17
     Arizona’s insurance laws, statutes, and regulations.
18
19        4.     Upon information and belief, Defendant CC Services, Inc., (“CC

20   SERVICES”) is a foreign corporation with its principal place of business in
21
     Bloomington, Illinois.
22
23        5.     Upon information and belief, Defendant CC Services is engaged in the

24   business of evaluating, adjusting, administering, overseeing, and handling individual
25
     disability income claims made by COUNTRY insureds, including those in the State of
26
     Arizona. Defendant CC Services caused acts to occur in Arizona out of which this
27
28   Complaint arises and is therefore subject to Arizona’s insurance laws, statutes, and



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           Case 2:15-cv-02597-DLR Document 50 Filed 07/08/16 Page 3 of 14




 1   regulations pertaining to claim handling practices and duties of good faith and fair
 2
     dealing.
 3
          6.    Upon information and belief, CC Services and its employees were at all
 4
 5   times relevant, the actual (or ostensible) agents of Defendant COUNTRY, and acting
 6
     within the scope of its employment or agency. Defendants CC Services and
 7
     COUNTRY acted in concert and are jointly and severally liable for the acts
 8
 9   complained of herein. CC Services’ employees acted for and on behalf of Defendant
10   COUNTRY as lent employees and/or served both Defendants as employees of both
11
     Defendants.
12
13        7.    Defendants Does 1-10 and Roes 1-10 are fictitiously identified Defendants
14   who, upon information and belief, committed wrongful acts that caused or contributed
15
     to Plaintiff’s injuries, damages, and claim. When the true identity of these Defendants
16
17   is known, leave of this Court will be sought to amend this Complaint accordingly.

18   Upon information and belief, some of the Doe and Roe Defendants are and were at all
19
     times relevant herein employees, servants, and actual (or ostensible) agents of other
20
21   Defendants, and acting within the scope of their employment or agency.

22        8.    Jurisdiction and venue are appropriate in this Court.
23
                                  GENERAL ALLEGATIONS
24
          9.    Plaintiff re-alleges the allegations above as though fully restated herein.
25
26        10.   On or about November 7, 1995, Defendant COUNTRY sold and then
27
     issued an Individual Disability Income Policy (Policy No: H373449) (hereinafter, the
28
     "Policy") to the Plaintiff. The Policy provides a monthly individual disability income


                                             3
            Case 2:15-cv-02597-DLR Document 50 Filed 07/08/16 Page 4 of 14




 1   benefit (and other benefits) in the event Plaintiff became disabled under the terms of
 2
     the Policy.
 3
           11.     Plaintiff satisfied and performed all terms and conditions required of him
 4
 5   under the Policy. He has timely paid monthly premiums throughout the Policy’s
 6
     existence, and the Policy has otherwise been in effect at all relevant times.
 7
           12.     The Policy provided a total monthly benefit of no less than $1,500.00
 8
     upon proof of disability.
 9
           13.     The Policy defines “disability” as a:
10
                   [c]ontinuous inability to perform substantially all
11                 important duties of your regular occupation because of
12                 your injury or sickness. After benefits have been paid for
                   two years, it means continuous inability to engage in
13                 any occupation because of your injury or sickness.
14
15        14.      The Policy defines Regular Occupation as, “your occupation at the time

16   disability begins.”
17
          15.      The Policy defines Any Occupation as, “any occupation in which you
18
19   could be expected to engage. Consideration is given to your education and training

20   or experience.”
21
          16.      At all times relevant hereto, Plaintiff’s regular occupation was that of a
22
23
     Manager of the Contact Call Center for Progressive Insurance. His duties included

24   managing over 100 call center employees and supervisors.
25
           17.     On November 26, 2012 Plaintiff suffered a traumatic brain injury with
26
     post-concussive syndrome when he accidentally walked into a pole, striking his head.
27
28   Ever since that incident Plaintiff suffers from memory loss, intermittent seizures,



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            Case 2:15-cv-02597-DLR Document 50 Filed 07/08/16 Page 5 of 14




 1   headaches, vertigo, confusion, fatigue, difficulty focusing, and an inability to multi-
 2
     task, among many other symptoms.
 3
          18.    As a result of plaintiff’s injury, and since November 26, 2012, Plaintiff has
 4
 5   been periodically hospitalized, and requires ongoing medical care and therapy. He
 6
     has restrictions that include an inability to drive, requires assistance with activities of
 7
     daily living, and suffers from attendant medical conditions and symptoms, making
 8
 9   him unable to engage in his regular or any other occupation for which he is
10   reasonably trained, educated, or experienced.
11
          19.    As a result of the brain injury suffered on November 26, 2012, Plaintiff
12
13   has been unable to perform substantially all important duties of his regular
14   occupation and is unable to and has not continuously engaged in any occupation.
15
          20.    Plaintiff timely submitted a claim for benefits under the Policy, and in
16
17   January 2013, Defendants COUNTRY and CC Services opened a claim and

18   sometime later began paying Plaintiff a monthly disability benefit of $1,500.00.
19
          21.    The Policy calls for a waiting period of 90-days from the date of disability,
20
21   and thereafter insurance premiums are waived while the insured remains disabled.

22        22.    On September 26, 2013 Defendants notified Plaintiff of the waiver of
23
     premium benefit and refunded premium payments Defendants collected from the
24
     Plaintiff during the waiver period.
25
26        23.    While paying monthly benefits, Defendants gathered and are in
27
     possession of Plaintiff's medical records as well as certifications of disability from
28
     Plaintiff’s treating physicians, which more fully describe the conditions that


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            Case 2:15-cv-02597-DLR Document 50 Filed 07/08/16 Page 6 of 14




 1   permanently restrict and limit Plaintiff from practicing both his “regular” and “any”
 2
     occupation.
 3
          24.      On December 17, 2013, and over a year after Plaintiff was first injured,
 4
 5   Defendants notified Plaintiff that their review of medical correspondence from
 6
     Plaintiff’s treating physicians did not support disability from a physical standpoint of
 7
     performing     the   job   duties   of   an   Insurance   Manager    and   requested   a
 8
 9   neuropsychological evaluation and additional medical information.
10        25.      On February 10, 2014 Plaintiff underwent a neuropsychological
11
     evaluation and testing.
12
13        26.      On April 21, 2014 Defendants issued their final monthly disability benefit
14   payment to Plaintiff in the amount of $1,500.00.
15
          27.      On April 23, 2014, Defendants wrote to Plaintiff and advised that they
16
17   were denying his claim on the basis that the medical information did not show

18   physical or cognitive impairments resulting from his injury that would be expected to
19
     prevent him from performing the duties of his regular occupation.
20
21        28.      Plaintiff has not been able to return to his regular occupation or any

22   occupation as a result of the brain injury he suffered on November 26, 2012. He has
23
     restrictions and limitations that prevent him from working and is "totally disabled" as
24
     defined by the Policy.
25
26        29.      Defendants COUNTRY and CC Services undertook an outcome based
27
     investigation designed to lead to the denial of Plaintiff’s claim.
28




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            Case 2:15-cv-02597-DLR Document 50 Filed 07/08/16 Page 7 of 14




 1        30.    Defendants COUNTRY and CC Services again refused to pay benefits
 2
     owed under Plaintiff’s Policy after Plaintiff notified Defendants months later that he
 3
     was hospitalized and had undergone significant medical treatment and care for his
 4
 5   brain injury since Defendants’ April 2014 claim denial.
 6
          31.    Defendants did not request medical records, did not perform a follow-up
 7
     investigation, and otherwise repeatedly failed to fairly and objectively evaluate
 8
 9   medical information and other evidence (a) at the time it first denied the claim and (b)
10   thereafter when Plaintiff reported he remained disabled, had not returned to work,
11
     was hospitalized, and underwent significant care and treatment over a year following
12
13   Defendants’ denial of his claim.
14        32.    Plaintiff continues to suffer financial distress and damage to his credit
15
     reputation, emotional, mental, and physical harm, and other injuries and damages as
16
17   a direct and proximate result of Defendants’ wrongful refusal to pay benefits owed

18   per the Policy, and as a result of its violations of other Arizona’s statutes, regulations
19
     and case law defining standards for claim handling processes and procedures.
20
21        33.    Plaintiff was forced to retain the services of an attorney to seek and

22   secure benefits under the Policy that are wrongfully being withheld by Defendants,
23
     while Defendants continue to wrongfully collect premiums that would have been
24
     waived had Plaintiff’s claim been honored.
25
26        34.    Plaintiff is making a claim for recovery of reasonable attorneys’ fees per
27
     A.R.S. §12-341.01, and the costs he is forced to incur herein, along with pre-and
28
     post-judgment interest at the legal rate.


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            Case 2:15-cv-02597-DLR Document 50 Filed 07/08/16 Page 8 of 14




 1        35.    The amount in monthly disability benefits Defendants owe, and will
 2
     continue to owe in the future, is “liquidated” to the extent it can be readily calculated
 3
     and has in the past been formally demanded. Therefore, Plaintiff is entitled to pre-
 4
 5   judgment interest on monies wrongfully withheld.
 6
          36.    Defendants acted and continue to act with an "evil mind," and with a
 7
     conscious disregard of the rights and entitlements of Plaintiff to such an extent and in
 8
 9   such a fashion so as to justify the imposition of punitive and exemplary damages.
10   These damages, along with other contractual and extra-contractual damages, are
11
     expressly sought to punish Defendants and to deter other insurance companies from
12
13   the same or similar bad faith claims handling practices.
14                                FIRST CLAIM FOR RELIEF
15
                                     (Breach of Contract)
16
17        37.    Plaintiff re-alleges the above allegations as though fully set forth herein.

18        38.    Defendants breached Plaintiff’s insurance policy by refusing to pay
19
     monthly individual disability income benefits legitimately owed per the Policy
20
21   beginning in April 2014 and continuing into the future.

22        39.    Defendants also breached Plaintiff’s Policy by refusing to waive
23
     insurance premiums per the Policy while Plaintiff remains disabled.
24
          40.    Defendants breached their contract by charging, accepting, and holding
25
26   onto insurance premiums paid by Plaintiff (and the interest earned on those
27
     premiums), which should have been waived per the Policy’s terms.
28




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             Case 2:15-cv-02597-DLR Document 50 Filed 07/08/16 Page 9 of 14




 1         41.     Plaintiff remains "totally disabled" as defined under the Policy, and is
 2
     owed "total disability" and other benefits under the Policy.
 3
           42.     Defendants continue to breach their promises and the terms of the Policy
 4
 5   by refusing to pay disability insurance benefits owed Plaintiff because of his ongoing
 6
     disability.
 7
           43.     Defendants owes Plaintiff individual disability income benefits of no less
 8
 9   than $1,500 per month plus interest on those benefits beginning in April 2014 and
10   continuing until the jury renders a verdict in this case, and into the future.
11
           44.     As a result of Defendants’ contractual breaches and their its bad faith
12
13   conduct as more fully described herein, Plaintiff is entitled to an acceleration of all
14   future benefits owed under the Policy.
15
           45.     As a direct and proximate result of the Defendants’ breaches, Plaintiff
16
17   has incurred damages in a sum total to be proved at the time of trial, but which are

18   liquidated and now owed.
19
           46.     This matter arises out of contract (the Policy), and the Plaintiff is entitled
20
21   to reasonable costs and attorneys’ fees pursuant to A.R.S. §12-341 and §12-341.01,

22   as well as pre-and post-judgment interest.
23
           47.     Plaintiff is also entitled to recover attorneys’ fees, costs and out of pocket
24
     expenses he incurs to recover insurance benefits that the Defendants owe, as a
25
26   separate component of his economic damages.
27
28




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           Case 2:15-cv-02597-DLR Document 50 Filed 07/08/16 Page 10 of 14




 1                                SECOND CLAIM FOR RELIEF
 2
                             (Insurance Bad Faith - Breach of Covenants of
 3                                   Good Faith and Fair Dealing)
 4
           48.    Plaintiff re-alleges the above allegations as though fully stated herein.
 5
           49.    Defendants owe Plaintiff duties of good faith and fair dealing as part of
 6
 7   the handling of Plaintiff’s claim under the Policy.
 8
           50.    The duties Defendants owe to Plaintiff include but are not limited to a
 9
     prompt, thorough and fair handling of his claim, and payment of benefits without
10
11   unreasonable delay. Defendants are required to give equal considerations to Plaintiff
12   and cannot place their own interests ahead of those of Mr. McClure.
13
           51.    Defendants have breached and continue to breach duties of good faith
14
15   and fair dealing owed to the Plaintiff.

16         52.    Defendants wrongfully, and in violation of the above described duties of
17
     good faith and fair dealing, withheld, delayed, denied, and continue to deny and
18
19   withhold Plaintiff disability insurance benefits owed under the Policy.

20         53.    Defendants failed to conduct a reasonable investigation into Plaintiff’s
21
     claim, and instead engaged in an outcome based investigation designed to lead to
22
23
     the denial of Plaintiff’s claim.

24         54.    Defendants failed to reasonably and fairly investigate Plaintiff’s claim,
25
     failed to take reasonable measures to ensure prompt payment of Plaintiff’s claim, and
26
     deliberately conducted a biased investigation for the wrongful and purposeful intent to
27
28   avoid paying Plaintiff benefits owed under his Policy.



                                               10
           Case 2:15-cv-02597-DLR Document 50 Filed 07/08/16 Page 11 of 14




 1         55.    Defendants repeatedly failed to fairly and objectively evaluate medical
 2
     information and other evidence, and ignored information in medical records that
 3
     clearly supported Plaintiff’s claim for disability.
 4
 5         56.    Defendants violated and continue to violate duties of good faith and fair
 6
     dealing owed to Plaintiff by (1) relying on non-treating, non-examining medical
 7
     professionals who are biased and do not qualify to render medical opinions regarding
 8
 9   Plaintiff McClure’s claim, by (2) relying on non-treating and non-examining personnel
10   who have not considered the totality of Plaintiff’s medical records and conditions, and
11
     (3) have and continue to act unreasonably by denying Plaintiff McClure’s claim
12
13   without medical foundation to do so.
14         57.    Defendants failed to conduct an investigation into Plaintiff’s claim when
15
     requested to do so in 2014 and 2015, and failed and continues to fail to provide any
16
17   reasonable or legitimate explanation for its claims decisions.

18         58.    Defendants unreasonably interpreted the Policy’s provisions to their
19
     advantage disregarding the interests of the Plaintiff.
20
21         59.    Defendants unreasonably interpreted Arizona statutes, laws, and

22   regulations applicable to the Policy’s provisions.
23
           60.    Defendants purposefully intended to injure Plaintiff and/or acted to serve
24
     their own interests, having reason to know and consciously disregarding the
25
26   substantial risk that their its conduct would significantly injure Plaintiff financially,
27
     emotionally, mentally, and physically; and, would cause anger, frustration, emotional,
28
     mental, and physical pain and suffering, among other things. Defendants are liable


                                                11
           Case 2:15-cv-02597-DLR Document 50 Filed 07/08/16 Page 12 of 14




 1   for exemplary damages for the conduct described herein as punishment, and as a
 2
     deterrent so that Defendants and others do not act the same way in the future.
 3
           61.    As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff
 4
 5   suffered and will continue to suffer significant damages and injuries that have
 6
     affected and will continue to affect his life.
 7
           62.    Defendants’ refusal to pay past individual disability income insurance
 8
 9   benefits, and their refusal to pay disability benefits currently owed and those that will
10   be owed in the future, has directly and proximately caused special and compensatory
11
     damages, and has created a significant foundation for exemplary and punitive
12
13   damages, in an amount to be proved at trial.
14         63.    Plaintiff is owed past and current disability benefits under the Policy, as
15
     well as an acceleration of future benefits as a direct and proximate result of
16
17   Defendants’ tortious conduct and bad faith refusal to honor the Policy and/or to fairly,

18   timely and/or thoroughly investigate the Plaintiff’s accident related disability claim.
19
           64.    As a further direct and proximate result of Defendants’ misconduct,
20
21   Plaintiff has suffered and will continue to suffer, anxiety, worry, frustration, mental,

22   psychological and emotional distress, physical distress, loss of stability (financial and
23
     emotional), loss of earnings, and physical pain, all in amounts to be proved at trial.
24
           65.    As a further direct and proximate result of Defendants’ misconduct, the
25
26   Plaintiff incurred and will continue to incur other special damages in amounts to be
27
     proved at trial.
28




                                               12
           Case 2:15-cv-02597-DLR Document 50 Filed 07/08/16 Page 13 of 14




 1         66.   As a further proximate result of Defendants’ conduct, Plaintiff has
 2
     incurred other losses, lost opportunities, and suffered a decrease in the enjoyment
 3
     and quality of his life (i.e., hedonic losses), all in amounts to be proved at trial.
 4
 5         67.   At all times herein, Defendants were acting in concert and in furtherance
 6
     of a joint enterprise and are therefore jointly and severally liable for the damages and
 7
     harm inflicted on the Plaintiff.
 8
 9         WHEREFORE, Plaintiff requests a trial by Jury, and seeks damages against
10   Defendants jointly and severally, as follows:
11
             a. Contractual damages for disability benefits owed under the Policy, and a
12
13               refund of premiums Plaintiff paid while disabled under the Policy;
14           b. Damages for failure to pay "total disability" benefits (past, ongoing, and
15
                 accelerated future benefits) under the applicable coverage, together with a
16
17               refund of premiums, in amounts to be determined at trial;

18           c. Compensatory damages (past and future) for: mental, psychological and
19
                 emotional damages; physical distress and injury; pain and suffering, loss
20
21               of enjoyment of life, damage to credit reputation, and other damages in an

22               amount to be determined at trial;
23
             d. An assessment of punitive and exemplary damages in an amount
24
                 determined at trial to punish, deter and set examples of Defendants;
25
26           e. Pre-and post-judgment interest based on the liquidated amounts owed to
27
                 Plaintiff, including disability benefits owed and a refund of premiums that
28
                 Defendants have wrongfully collected from Plaintiff;


                                               13
            Case 2:15-cv-02597-DLR Document 50 Filed 07/08/16 Page 14 of 14




 1            f. An award of future disability benefits from the date of the jury’s verdict
 2
                  until the maximum benefit period under the Policy;
 3
              g. Reasonable attorneys' fees pursuant to A.R.S. Section 12-341.01;
 4
 5            h. All litigation costs incurred; and
 6
              i. For whatever other relief the Court deems proper.
 7
                                         TRIAL BY JURY
 8
 9         Pursuant to Federal Rules of Civil Procedure 38(b) Plaintiff has demanded a
10   trial by jury.
11
           Dated this 8th day of July, 2016.
12
13                                                    ADELMAN GERMAN, P.L.C.
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